
USCA1 Opinion

	













        August 25, 1995         [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                                     
                                 ____________________
        No. 94-1942
                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                FIDELINA SANTOS-FRIAS,

                                Defendant, Appellant.

                                                     
                                 ____________________
        No. 94-1943

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                               FRANCISCA DE LEON-PENA,

                                Defendant, Appellant.

                                                     
                                 ____________________
        No. 94-2065

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                               FRANCISCO MATTA-GARCIA,

                                Defendant, Appellant.

                                                     
                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Raymond L. Acosta, U.S. District Judge]
                                             ___________________


















                                                     
                                 ____________________

                                Selya, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                                                     
                                 ____________________



             Rafael Gonzalez Velez for appellant Santos-Frias.
             _____________________
             Jose R. Gaztambide for appellant De Leon-Pena.
             __________________
             Luis A. Plaza for appellant Matta-Garcia.
             _____________
             W. Stephen  Muldrow, Assistant United States  Attorney, with whom
             ___________________
        Guillermo Gil, United States Attorney, Jos  A. Quiles-Espinosa, Senior
        _____________                          _______________________
        Litigation Counsel,  Mar a  Pab n, Assistant  United States  Attorney,
                             ____________
        Jacabed Rodr guez, Assistant United States Attorney, and Sonia Torres,
        _________________                                        ____________
        Assistant United States Attorney, were on brief for appellee.


                                                     
                                 ____________________


                                                     
                                 ____________________
























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                    Per  Curiam.   Defendants Fidelina  Santos-Frias ("San-
                    Per  Curiam.
                    ___________

          tos"), Francisco  Matta-Garcia ("Matta"), and Francisca  De Leon-

          Pena ("De Leon") appeal the judgments of conviction  and sentence

          entered against  them following their consolidated  jury trial on

          cocaine charges  in  the United  States  District Court  for  the

          District of Puerto Rico.  We affirm the district court judgments.


                                          I
                                          I

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    We recount the evidence in the light  most favorable to

          the verdicts.   United States  v. Tuesta-Toro, 29  F.3d 771,  773
                          _____________     ___________

          (1st Cir.  1994), cert. denied,  115 S. Ct. 947  (1995).  Santos,
                            _____ ______

          Matta, De Leon, and  Rosalia Sanchez-Vencosme ("Sanchez") resided

          in  the same  apartment  building in  Rio  Piedras, Puerto  Rico.

          Sanchez and  Santos shared an apartment.   On May 8, 1993, Santos

          and De Leon invited Sanchez to another apartment, shared by Matta

          and De Leon,  and offered to  pay Sanchez  $1,700 for carrying  a

          kilogram of cocaine  to New York.  Sanchez  declined the offer at

          the time, but later relented.

                    The  next day, May 9, De Leon helped Santos and Sanchez

          strap cocaine-laden girdles  to their bodies.   Matta then  drove

          Santos and Sanchez  to the airport while De Leon  remained at her

          apartment.  En route to the airport, Matta gave  Santos the money

          with which  to purchase two plane tickets.  Upon their arrival at

          the airport, Santos  and Sanchez proceeded to  the ticket counter

          while Matta remained  at a  discreet distance.   Santos, who  was

          carrying two  kilograms of  cocaine, purchased the  tickets, pro-

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          ceeded toward the departure gate and passed through the  security

          checkpoint without incident.  Sanchez, carrying one kilogram, was

          detained when the checkpoint security alarm sounded as she passed

          through.  After the cocaine was discovered on her person, Sanchez

          was placed under arrest and charged with  possessing cocaine with

          intent  to  distribute.   She  later  pled  guilty  and testified

          against appellants Santos, Matta and De Leon. 


                                          II
                                          II

                                      DISCUSSION
                                      DISCUSSION
                                      __________

          A.   Opening Statement
          A.   Opening Statement
               _________________

                    Count one charged appellants with conspiring to possess

          cocaine with intent to  distribute, from on or about  December 1,

          1992, to and including May 9,  1993.  In the government's opening

          statement,  the prosecutor described various criminal activities,

          as alleged in  the indictment, which would  be established during
          __ _______ __  ___ __________

          trial.   At  side-bar  immediately after  the opening  statement,

          defense  counsel moved  for  mistrial based  on unfair  prejudice

          allegedly resulting  from the  prosecutor's references  to defen-

          dants' pre-May  8 criminal activities  since Sanchez     the only

          government witness to  the alleged conspiracy     had not  become

          involved  until May 8.   Following an evidentiary  proffer by the

          government, the district court  ruled that the alleged conspiracy

          spanned  only the two-day period    May  8 through May 9, 1993   

          during which  Sanchez participated.   The  court then  denied the

          motions for  mistrial,  on  the  ground that  its  curative  jury

          instructions  would afford  adequate  protection  against  unfair

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          prejudice.  

                    The district court gave  a curative instruction immedi-

          ately before Sanchez  testified, emphatically directing the  jury

          to  disregard all prosecutorial  references to occurrences during

          the period  December 12th, 1992, through  May 7th, 1993.   At the

          same time the court reiterated its admonition    initially stated

          during its preliminary jury  instructions    that statements made

          by counsel are  not evidence.  During its final  charge the court

          said:          I caution you and instruct you that
                         . . . any comments that the govern-
                         ment  made  in [its]  opening argu-
                         ments with respect to anything that
                         might  have  happened prior  to May
                         8th is to be totally and completely
                         disregarded  and  ignored  by  you.
                         The  evidence in  this case  . .  .
                         starts  on  May the  8th,  and goes
                         over into May the 9th.   That's all
                         you're  concerned  with.   Anything
                         that you might  recall or  anything
                         that was said  that went before May
                         the  8th, is  completely irrelevant
                         to you, and  may not be  considered
                         by you.

                    Appellants  contend that  the district  court  erred in

          denying  their motion  for mistrial,  as no  curative instruction

          could overcome the unfair impression conveyed by the prosecutor's

          statement  that  appellants were  involved  in  a more  extensive

          conspiracy  than the government would establish at trial.  Appel-

          lants  assert that  "a  curative instruction  would not  suffice"

          because the  jury clearly  understood the prosecutor  and, coming

          from the  government, the statement  would be given  weight "not-

          withstanding any instructions from the court." 

                    Although  the  assurances  that  the  government  would

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          establish criminal  activities predating the commencement  of any

          provable  conspiracy posed  a considerable  potential for  unfair

          prejudice to appellants, any actual  prejudice was self-inflicted

          by their failure to mount a pretrial challenge to the indictment,

          based  on overbreadth, see Fed.  R. Crim. P.  12(b)(2), and their
                                 ___

          failure  to request the district court in advance to limit prose-

          cutorial references in the  government's opening statement to the

          temporal scope of  the provable conspiracy.1  Furthermore,  at no

          time  did  the defense  suggest to  the  district court  that the

          opening statement involved intentional misconduct by the prosecu-

          tor.  

                    Even  under  a   "plain  error"  analysis,  appellants'

          argument fails.  The  denial of a timely  motion for mistrial  is

          reviewed for  manifest  abuse of  discretion.   United States  v.
                                                          _____________

          Romero-Carrion,  54 F.3d 15, 17 (1st Cir. 1995); United States v.
          ______________                                   _____________

                              
          ____________________

               1At bottom, of course, the challenge to the temporal breadth
          of  the alleged  conspiracy  described in  the opening  statement
          represented a challenge to the  indictment.  "Defenses and objec-
          tions based on defects  in the indictment" are to be raised prior
          to  trial, Fed.  R.  Crim. P.  12(b)(2),  and are  deemed  waived
          pursuant  to  Fed. R.  Crim. P.  12(f)  unless the  court affords
          relief  for "cause shown."   As appellants failed  to avail them-
          selves of a full  and fair opportunity to mount  a pretrial chal-
          lenge to the indictment, and now offer no justification for their
          failure, the present claim  is deemed waived.  See  United States
                                                         ___  _____________
          v. Rodriguez, 738 F.2d 13, 15 (1st  Cir. 1984) (motion to dismiss
             _________
          indictment during trial untimely under Rule 12(b)); Flying Eagles
                                                              _____________
          Publications,  Inc. v. United States, 273 F.2d 799, 803 (1st Cir.
          ___________________    _____________
          1960) (declining to address merits of nonjurisdictional challenge
          to indictment at close  of evidence because "under Criminal  Rule
          12(b)(2) it should have been  asserted by motion before trial.");
          see  also United States  v. Smith, 866 F.2d  1092, 1098 (9th Cir.
          ___  ____ _____________     _____
          1989)  (finding  that  defendants waive  all  but  jurisdictional
          claims of error  regarding an indictment unless they  raise their
          claims prior to trial). 

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          Pierro, 32 F.3d 611,  617 (1st Cir.  1994), cert. denied, 115  S.
          ______                                      _____ ______

          Ct.  919 (1995).   And  absent a  clear showing  of  prejudice by

          appellants the denial must be upheld.  United  States v. Hahn, 17
                                                 ______________    ____

          F.3d  502, 508 (1st Cir.  1994) (citing United  States v. Sclamo,
                                                  ______________    ______

          578 F.2d 888, 890-91 (1st Cir. 1978)).  

                    We  evaluate the  potential for prejudice  by assessing

          the  likely impact  of the  challenged conduct  upon the  jury as

          viewed in the context of the entire trial, including prosecutori-

          al  culpability, the  nature  and timeliness  of the  defendant's

          response and any curative measures undertaken by the trial court.

          See  United States  v. Moreno,  991 F.2d  943, 947-49  (1st Cir.)
          ___  _____________     ______

          (evaluating government's  opening and closing  statements), cert.
                                                                      _____

          denied, 114  S. Ct. 457 (1993);  see also  United  States v. Mac-
          ______                           ___ ____  ______________    ____

          cini,  721  F.2d 840,  842-43 (1st  Cir.  1983).   Ultimately, of
          ____

          course,  the acid test is  whether the defendant  received a fair

          trial.  Moreno, 991 F.2d at 949.
                  ______

                    A careful  review of  the record demonstrates  that any

          potential  prejudice to  appellants was  averted by  the district

          court's firm curative instructions and by its ruling limiting the

          temporal  reach of the government's evidence at trial to the two-

          day period    May 8 and 9, 1993.  Nor have appellants suggested a

          sufficient basis  for their  conjecture that  the jury failed  to

          follow the specific curative instructions repeatedly given by the

          district court.  See  United States v. Paiva,  892 F.2d 148,  160
                           ___  _____________    _____

          (1st Cir. 1989)  (court normally presumes  that jury follows  its

          instructions).  


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          B.   Closing Argument
          B.   Closing Argument
               ________________

                    On appeal, Matta and De Leon contend for the first time

          that the government improperly vouched  for Sanchez's credibility

          during closing argument  when the prosecutor stated, "She's not a

          perjurer.  She's going to do time.  She's not going to walk.  She

          is truthful."  The appellate brief jointly filed by  Matta and De

          Leon  devotes  a single  conclusory  sentence  to their  vouching

          claim:  "The  government also vouched for its  principal witness,

          Rosalia  Sanchez-Bencosme."2   Their failure  to raise  the claim

          below and to present developed argumentation on appeal constitut-

          ed a clear waiver.  See United States v. Zannino, 895 F.2d 1,  17
                              ___ _____________    _______

          (1st Cir.), cert. denied, 494 U.S. 1082 (1990).  
                      _____ ______

          C.   Motions for Judgments of Acquittal
          C.   Motions for Judgments of Acquittal
               __________________________________

                    All  three  appellants  claim  there  was  insufficient

          evidence to  support their convictions, hence  the district court

          erred  in denying their motions for judgments of acquittal.  They

          base their claim on the ground that the only testimony supporting

          their convictions was provided  by Sanchez and it was  not credi-

          ble.  See supra pt. II.B.   Appellants argue  that Sanchez demon-
                ___ _____

          strated her  lack of credibility  by giving false  information in

          her  earlier dealings  with  the United  States Drug  Enforcement

                              
          ____________________

               2Santos would be permitted  to adopt the arguments presented
          by  Matta and De Leon, see Fed. R.  App. P. 3(b), but only to the
                                 ___
          extent  that the  adopted arguments  themselves are  apposite and
          adequately  developed.  Cf. United States v. David, 940 F.2d 722,
                                  ___ _____________    _____
          737  (1st  Cir.  1991)  (rejecting attempt  to  adopt  materially
          different  arguments by  reference), cert.  denied, 504  U.S. 955
                                               _____  ______
          (1992);  United  States v.  Zannino, 895  F.2d  1, 17  (1st Cir.)
                   ______________     _______
          (similar), cert. denied, 494 U.S. 1082 (1990).
                     _____ ______

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          Administration,  and by entering into a sham marriage in order to

          obtain immigrant status.  

                    It is well settled  that all credibility questions must

          be  resolved in  favor  of the  verdict  when reviewing  a  trial

          court's denial of  a motion for judgment of acquittal.   Hahn, 17
                                                                   ____

          F.3d at  506 (citing United  States v. Batista-Polanco,  927 F.2d
                               ______________    _______________

          14, 17 (1st  Cir. 1991)).   The conclusory assertions  supporting

          the  instant claim afford no basis for departing from the general

          rule that credibility determinations are for the factfinder.  Id.
                                                                        ___

          A careful record review demonstrates that defense counsel, during

          cross-examination  and in their  closing arguments,  ably exposed

          the very  serious credibility problems  with Sanchez's testimony.

          The record likewise reveals ample evidence    crediting Sanchez's

          testimony as we must, see id.    to establish beyond a reasonable
                                ___ ___

          doubt  each  essential  element  of the  crimes  charged  against

          Santos, Matta and De Leon.  D.     Sentencing
                                      D.     Sentencing
                                             __________

                    Santos  and De Leon did not object to their presentence

          reports.  Thus, their undeveloped sentencing claims, broached for

          the first time on appeal, were  not preserved.  See United States
                                                          ___ _____________

          v. Ocasio-Rivera, 991 F.2d 1,  3 &amp; n.3 (1st Cir. 1993).   Indeed,
             _____________

          the  appellate  brief submitted  by  Santos  does not  explicitly

          present a  sentencing  claim.   Her  reliance  on  a  perfunctory

          announcement  of joinder under Fed. R. App. P. 3(b) is inadequate

          to entitle her to  "piggyback" on the sentencing claims  advanced

          by her  codefendants.  See  supra note  2.  As  for De Leon,  the
                                 ___  _____

          argumentation in  the  joint brief  submitted  by her  and  Matta


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          merely  rests on  the bald  statement that  she should  have been

          granted  a  downward  departure,  though she  purports  to  adopt

          Matta's arguments by reference.   See id.  Since neither De  Leon
                                            ___ ___

          nor  Santos  discussed their  own  sentencing  claims, nor  their

          respective grounds for either a downward departure or adjustment,

          we decline  to consider their  claims.  "[T]he  settled appellate

          rule  [is]  that  issues adverted  to  in  a perfunctory  manner,

          unaccompanied  by some  effort  at  developed argumentation,  are

          deemed waived."  Zannino, 895 F.2d at 17.
                           _______

                    Although Matta  has presented  a developed claim  for a

          downward adjustment, assertedly based on  his "minor role" in the

          cocaine transaction,  see U.S.S.G.    3B1.2(b), it  is frivolous.
                                ___

          The  presentence report  not only  includes no  information which

          would  warrant a finding  that Matta played  a minor  role in the

          offense  but it  recommends  a four-level  upward adjustment  for
                                                     ______

          Matta's supervisory role  in the  offense.  See  id.    3B1.1(a).
                  ___________ ____                    ___  ___

          Even though the district  court rejected this recommendation, the

          uncontroverted  evidence that  Matta provided  the money  used to

          purchase  the airline  tickets for Santos  and Sanchez,  then re-

          mained  in the background as his "mules" proceeded to the airport

          security checkpoint,  left little room  for a finding  that Matta

          played a minor role in the offense.

                    The contention  that Matta  was entitled to  a downward

          departure for "aberrant behavior"  fares no better.  There  is no

          basis for concluding that the sentencing court did not understand

          that a  downward  departure based  on  aberrant behavior  may  be


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          permissible in an  appropriate case.   The district court  simply

          refused to depart on  the grounds presented by Matta.  See United
                                                                 ___ ______

          States v.  Catucci, 55 F.3d 15,  19 n.3 (1st Cir.  1995).  Conse-
          ______     _______

          quently, we  lack jurisdiction  to consider the  departure claim.

          See United States v. Ruiz, 905 F.2d 499, 508-09 (1st Cir. 1990).
          ___ _____________    ____

                    Affirmed.
                    Affirmed.
                    ________

            








































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